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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                     Chapter 11

BOY SCOUTS OF AMERICA AND                                  C.A. No. 20-_____ (___)
DELAWARE BSA, LLC,1
                                                           Bankr. Case No. 20-10343(LSS)
                          Debtors.
                                                           Jointly Administered

      DEBTORS’ MOTION FOR ENTRY OF AN ORDER AUTHORIZING THE
    DEBTORS TO FILE UNDER SEAL (I) EXHIBIT A TO DEBTORS’ MOTION TO
        FIX VENUE AND (II) THE DECLARATION OF BRUCE A. GRIGGS

         The Boy Scouts of America (the “BSA”) and Delaware BSA, LLC (collectively, the

“Debtors”), the non-profit corporations that are debtors and debtor-in-possession in the above-

captioned bankruptcy case pending in the United States Bankruptcy Court for the District of

Delaware, hereby move for entry of an order pursuant to Federal Rule of Civil Procedure 5.2 and

D. Del. LR 5.1.3, authorizing the Debtors to file under seal (i) the chart of pending abuse actions

(the “Pending Abuse Actions”) attached as Exhibit A to the Motion to Fix Venue for Claims

Related to the Debtors’ Bankruptcy Under 28 U.S.C. §§ 157(b)(5) and 1334(b) (the “Transfer

Motion”) and (ii) the Declaration of Bruce A. Griggs in Support of the BSA’s Motion to Fix

Venue for Claims Related to Bankruptcy Under 28 U.S.C. §§ 157(b)(5) and 1334(b) (the “Griggs

Declaration”). A proposed form of Order is attached hereto as Exhibit A.




1
 The Debtors in these chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 W. Walnut Hill Ln., Irving, TX 75038.
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       1.      On February 18, 2020 (the “Petition Date”), the Debtors filed a voluntary petition

for relief under chapter 11 of title 11 of the United States Code.

       2.      On March 2, 2020, the Debtors commenced this miscellaneous action to fix venue

in this Court (the “Transfer Proceeding”) pursuant to 28 U.S.C. §§ 157(b)(5) and 1334(b). The

Transfer Proceeding seeks to: (1) centralize the adjudication of the claims related to the Debtors’

estates; (2) ensure orderly and efficient resolution of the claims asserted in the Pending Abuse

Actions; (3) allow for efficient administration of the Debtors’ estates; (4) and ensure that

similarly situated creditors are treated equitably.

       3.      The Debtors seek to file two documents under seal in this Transfer Proceeding: (i)

a chart of Pending Abuse Actions, attached as Exhibit A to the Transfer Motion; and (ii) the

Griggs Declaration, filed in support of the Debtors’ Transfer Motion. Both the chart of Pending

Abuse Actions and Griggs Declaration contain personal information identifying abuse victims

and minors.

       4.      Although the public has a “common law right of access to judicial proceedings

and records,” this right “is not absolute.” Littlejohn v. Bic Corp., 851 F.2d 673, 677-78 (3d Cir.

1988). The “presumption of access must be balanced against the factors militating against

access,” with the party seeking to redact bearing the burden of “show[ing] that the interest in

secrecy outweighs the presumption.” In re Cendent Corp., 260 F.3d 183, 194 (3d Cir. 2001).

The Court may order that documents be filed under seal where the party seeking the sealing of

documents demonstrates that “good cause” exists to maintain protection of such information.

Barrett v. McDonald, No. 14–742–LPS, 2015 WL 237165 (D. Del. Jan. 16, 2015) (granting

motion to seal personal medical information).




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       5.      Sufficient cause exists for the Court to grant the relief requested in this Motion.

As further explained in the Transfer Motion and opening brief filed in support thereof, the BSA

is currently a defendant in numerous lawsuits related to historical acts of sexual abuse in its

programs. Many victims have taken legal action against the BSA and its related entities in the

civil tort system through the Pending Abuse Actions, and the names and other identifiers of the

individuals in those Pending Abuse Actions are listed on Exhibit A to the Transfer Motion and in

the Griggs Declaration.

       6.      Due to the nature of the allegations, disclosure of the identities of the individuals

in the Pending Abuse Actions, listed on Exhibit A to the Transfer Motion and in the Griggs

Declaration, may lead to the potential harm or injury to such individuals. The redaction of the

names of such individuals, however, will aid in protecting such individuals against the disclosure

of a scandalous or defamatory matter in publicly filed Court documents.

       7.      Accordingly, the Debtors request that Exhibit A to the Transfer Motion and the

Griggs Declaration be sealed.

       8.      In accordance with D. Del. LR 5.1.3, the Debtors will file on this Court’s docket a

redacted copy of Exhibit A to the Transfer Motion and the Griggs Declaration.

       9.      Pursuant to Local Rule 7.1.1 of Civil Practice and Procedure of the United States

District Court for the District of Delaware, the undersigned counsel for the Debtors avers that,

under the circumstances, a reasonable effort could not be made to reach agreement with the

opposing parties on the matters set forth in this motion prior to the filing hereof.




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       WHEREFORE, the Debtors respectfully request that the Court enter an Order,

substantially in the form attached hereto as Exhibit A, granting the relief requested herein and

granting such other relief as the Court may deem just and proper.



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Dated: March 3, 2020               Respectfully submitted,
Wilmington, Delaware
                                   SIDLEY AUSTIN LLP
                                   James F. Conlan (pro hac vice pending)
                                   Thomas A. Labuda (pro hac vice pending)
                                   Michael C. Andolina (pro hac vice pending)
                                   William A. Evanoff (pro hac vice pending)
                                   Matthew E. Linder (pro hac vice pending)
                                   One South Dearborn Street
                                   Chicago, Illinois 60603
                                   Telephone: (312) 853-7000
                                   Facsimile: (312) 853-7036

                                   – and –

                                   SIDLEY AUSTIN LLP
                                   Jessica C. K. Boelter (pro hac vice pending)
                                   William E. Curtin (pro hac vice pending)
                                   787 Seventh Avenue
                                   New York, New York 10019
                                   Telephone: (212) 839-5300
                                   Facsimile: (212) 839-5599

                                   – and –

                                  MORRIS, NICHOLS, ARSHT &
                                  TUNNELL LLP
                                  /s/ Derek C. Abbott
                                  Derek C. Abbott (No. 3376)
                                  Andrew R. Remming (No. 5120)
                                  Joseph C. Barsalona II (No. 6102)
                                  Paige N. Topper (No. 6470)
                                  1201 North Market Street, 16th Floor
                                  P.O. Box 1347
                                  Wilmington, Delaware 19899-1347
                                  Telephone: (302) 658-9200
                                  Facsimile: (302) 425-4664

                                   Proposed Attorneys for the Debtors and Debtors in
                                   Possession




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                              EXHIBIT A
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                     Chapter 11

BOY SCOUTS OF AMERICA AND                                  C.A. No. 20-_____ (___)
DELAWARE BSA, LLC,1
                                                           Bankr. Case No. 20-10343(LSS)
                          Debtors.
                                                           Jointly Administered



                ORDER AUTHORIZING THE DEBTORS TO FILE UNDER
                   SEAL (I) EXHIBIT A TO DEBTORS’ MOTION TO
            FIX VENUE AND (II) THE DECLARATION OF BRUCE A. GRIGGS


         Upon the motion (“Motion to Seal”) of the Boy Scouts of America and Delaware BSA,

LLC, non-profit corporations and debtors and debtors-in-possession in the above-captioned

chapter 11 cases (collectively, the “Debtors”), for entry of an order (this “Order”) authorizing the

Debtors to file under seal (i) the list of pending abuse actions (the “Pending Abuse Actions”)

attached as Exhibit A to the Transfer Motion2 and (ii) the Griggs Declaration; and this Court

having jurisdiction to consider the Motion to Seal pursuant to 28 U.S.C. §§ 157 and 1334; and

venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court

having found that proper and adequate notice of the Motion to Seal has been provided under the

circumstances; and after due deliberation thereon; and there being good and sufficient cause;



1
 The Debtors in these chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 W. Walnut Hill Ln., Irving, TX 75038.
2
 Capitalized terms used but not otherwise defined herein shall have the meaning given to them in the Motion to
Seal.
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IT IS HEREBY ORDERED THAT

       1.      The Motion to Seal is GRANTED as set forth herein.

       2.      Debtors are authorized to file unredacted copies of Exhibit A to the Transfer

Motion and the Griggs Declaration under seal.

       3.      Unredacted copies of Exhibit A to the Transfer Motion and the Griggs

Declaration shall not be made available to anyone except for (a) the Court, (b) the United States

Trustee, and (c) others upon Court order.

       4.      The Debtors are authorized to (a) file on this Court’s docket a redacted copy of

Exhibit A to the Transfer Motion and the Griggs Declaration, and (b) serve unredacted copies of

Exhibit A to the Transfer Motion and the Griggs Declaration on counsel for the plaintiffs in the

Pending Abuse Actions.

       5.      The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       6.      This Court shall retain jurisdiction to hear and decide any dispute related to or

arising from this Order.

Dated: ___________, 2020
       Wilmington, Delaware
                                             UNITED STATES DISTRICT COURT
                                             JUDGE




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